Case 1:03-mj-00453-LEK

EDWARD H. KUBO, JR. #2499

United Statee Attorney
Dietrict of Hawaii

Document 2 Filed 07/01/2003 Page 1 of 3

  

  

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Attorneye for Plaintiff
UNITED STATES OF AMERICA

IN THE UNITED STATES DESTRICT COURT

FOR THE DISTRICT OF HAWAII §

UNITED STATES OF AMERICA,
Plain:i§§,
VS.
JON EDWARD PICKERENG,

De§endant.

§

§§

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MOTION TO DETAIN DEFENDANT
WITHOUT BAIL

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MOTION TO DETAIN DEFENDANT WITHO§T BAIL

The United Statee hereby moves to detain defendant

without bail,

i. Ez:qibilitv 05 case.

pursuant to 18 U.S.C. Section 3142.

Thie defendant is eligible

for detention becauee the case involves (check all that apply):

B..

Offense committed on release pending
felony trial (3142(d)(l)(A){i)}*

Offenee committed on release pending
imposition, execution, or appeal of
eentence, conviction or completion of
eentence {3142(d)(l)(A)(ii))*

Offenee Committed while on probation or
parole (BlQZ(d)(l)(A)(iii))*

iii §

 

Case 1:03-mj-00453-LEK Document 2 Filed 07/01/2003 Page 2 of 3

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A citizen of a foreign country or
unlawfully admitted person
(3:42{a)(1)(s)>*

Crime of violence (3142(f)(i){A))

Maximum sentence life imprisonment or
death (3142{£)(1)(B))

10+ year drug offense (3142(f)(1)(€))

Felony, with two prior convictions in
above categories (3142(f)(l}(D))

Serious risk defendant will flee
{3142(£){2}(A))

Danger to other person or community **

Serious risk obstruction of justice
(3142(£)(2)(13))

Serions risk threat, injury,
intimidation of prospective witness or
juror (3142(§)(2)(B))

* requires "i“ or "j" additionally

** requires "a", "b", “c", or "d" additionally

2. Reason for Detention. The court should detain

defendant (check ali that apply):

XX

a .

Because there is no condition or
combination of conditions of release
which will reasonably assure defendant's
appearance as required (3142(e})

Because there is no condition or
combination of conditions of release
which will reasonably assure the safety
of any other person and the community
(3142(€)}

Pending notification of appropriate
court or official (not more than 10
working days (3142{d)}

 

Case 1:03-mj-00453-LEK Document 2 Filed 07/01/2003 Page 3 of 3

3. Rebnttable Presnmption. The United States will not
invoke the rebuttable presumption against defendant under
Section BlQZ{e). If invoked, the presumption applies because
{check ali that apply):

a. Probable cause to believe defendant
committed 10+ year drug offense

b. Probable cause to believe defendant
committed an offense under 18 U.S.C.
§ 924(c)

c. Previous conviction for eligible offense

committed while on pretrial bond
4. Time for Detention Hearind. The United States

requests that the court conduct the detention hearing:

a. At first appearance
XX b. After continuance of 3 days (not more
than 3)
5. Rnle 40 Cases. The United States requests that

the detention bearing be held:

a. In the District of Hawaii

XX b. In the District where charges were filed

 

6. Other Matters.

DATED: Jnly l, 2003i at Honolnlu, Hawaii.

EDWARD H. KUBO, JR.
United States Attorney
District of Hawaii

BY &M/f _

came H. NA'KAMU
Assistant U.S. Attorney

 

 

